                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA

 JOHNATHAN S. HENSLEY, on behalf of
 himself and others similarly situated,

                                        Plaintiff,

                         vs.                               CASE NO. 3:20-cv-482-KDB-DSC

 CITY OF CHARLOTTE, a North Carolina
 municipal corporation,

                                      Defendant.

                            STIPULATED PROTECTIVE ORDER

       IT IS HEREBY STIPULATED by and between Plaintiff Johnathan Hensley and Defendant

City of Charlotte (“Defendant”) (collectively, the “Parties”), through their respective attorneys of

record, as follows:

       WHEREAS, documents, testimony and information have been and may be sought,

produced or exhibited by and among the parties relating to proprietary systems, confidential

commercial information, confidential research and development, other proprietary information,

confidential personnel records or confidential criminal investigative files belonging to Defendant

and/or other confidential information of Plaintiff and third parties.

       THEREFORE, this Court orders as follows:

       1.      This Order shall govern the use, handling, and disclosure of all documents,

testimony or information produced or given in this action which are designated to be subject to

this Order. The parties acknowledge that this Order applies only to information designated as

confidential as described herein.

       2.      Any documents, testimony or information submitted, either voluntarily or pursuant

to any subsequent order, which is asserted in good faith by the producing party or by any other



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party or third party to contain or constitute information protected by Federal Rule of Civil

Procedure 26(c) or other provision of law asserted by the producing party, shall be so designated

in writing, or orally at a deposition, hearing or trial and shall be segregated from other information

being submitted. Materials so designated shall be clearly marked on their face with the legend

“CONFIDENTIAL.” Such documents, transcripts, or other materials are referred to herein as

“CONFIDENTIAL MATERIALS.”

        3.      A Party or third party wishing to designate portions of a deposition transcript

CONFIDENTIAL pursuant to this Order must, within five business days from the conclusion of

the deposition, order the original or a copy of the transcript of the deposition from the court reporter

for regular turnaround. The designating party may designate those portions of the transcript

CONFIDENTIAL, in accordance with paragraph 2 of this Order. The designating party shall

designate such CONFIDENTIAL MATERIAL either on the record or by serving upon all counsel

of record via electronic transmission a Notice setting forth the page, line numbers and designation.

Blanket designations shall not be permitted. The designating party must serve such Notice within

thirty calendar days after its counsel receives a copy of the deposition transcript. All transcripts

ordered within five business days from the conclusion of the deposition will be treated as

confidential until the expiration of the thirty day period described in this paragraph. Any portions

of a transcript designated as confidential shall thereafter be treated as confidential in accordance

with this Order. The parties shall negotiate in good faith to alter the time frames set forth in this

paragraph in situations where a more expedited filing of a designated portion of the deposition

transcript is required.

        4.      All CONFIDENTIAL MATERIALS, and all information derived therefrom

(including but not limited to all testimony, deposition or otherwise, that refers, reflects or otherwise




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discusses any such materials), shall not be used, directly or indirectly, by any person for any

business, commercial or competitive purposes or for any purpose whatsoever other than solely for

the litigation of this case, preparation and trial of this action in accordance with this Order.

       5.         In the absence of prior written permission from the designating party or an order by

the Court, CONFIDENTIAL MATERIALS shall not be disclosed to any person other than: (i) the

parties and their attorneys of record, and those attorneys’ support staff employees who perform

work tasks related to this case; (ii) qualified persons taking testimony involving such material and

necessary stenographic and clerical personnel; (iii) disclosed experts or consulting experts and

their staff employed for this litigation; (iv) present or former employees of the producing party in

connection with their depositions in this action (provided that no former employees shall be shown

documents prepared after the date of his or her departure); (v) outside photocopying and electronic

discovery vendors; and (vi) the Court, Court personnel, and members of any jury impaneled to

hear this case.

       6.         CONFIDENTIAL MATERIALS shall not be disclosed to any person designated in

paragraph 5(iii) unless he or she has executed a written, dated declaration in the form attached as

Exhibit A, acknowledging that he or she has first read this Order, agreed to be bound by the terms

thereof, agreed not to reveal such CONFIDENTIAL MATERIALS to anyone, and agreed to utilize

such CONFIDENTIAL MATERIALS solely for the purposes of this litigation. All persons to

whom CONFIDENTIAL MATERIALS are disclosed are hereby enjoined from disclosing same

to any other person except as provided in this Order, and are also enjoined from using same except

in the course of litigating this case, preparation for and trial of this case between the named parties

thereto. In the absence of prior written permission from the designating party or an order by the

Court, no person receiving or reviewing CONFIDENTIAL MATERIALS shall (a) disseminate or




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disclose them to any person other than those described above in Paragraph 5 and for the purposes

specified, or (b) make any other use of such CONFIDENTIAL MATERIALS.

        7.     In the event that any Party disagrees with any designation made under this Order,

the parties shall first try in good faith to resolve the disagreement informally. If the dispute cannot

be resolved and the receiving party concludes in good faith that the materials have been improperly

classified, the receiving party shall notify the designating party in writing by facsimile or by

electronic transmission of its objection, but shall continue to maintain the documents or other

information as confidential for ten calendar days after such notice. The designating party shall

have the right to move the Court to retain the designated status of the materials. If the designating

party files such a motion within the ten calendar day period, the receiving party shall continue to

retain the materials as CONFIDENTIAL, consistent with the designating party’s designation, until

the Court has ruled on the designating party’s motion. If the designating party does not file such a

motion then the material shall be deemed not confidential.

        8.     Any motion, memorandum, document, or other paper filed with the Court is

presumptively a public document. Any Party seeking to file CONFIDENTIAL MATERIALS with

the Court shall file such material in accordance with Local Civil Rule 5.2.1 and 6.1. The Parties

shall work together in good faith to coordinate the filing of all motions and material covered by

this paragraph to permit compliance with the Local Rules. Any decision of the Court regarding

whether to allow any filing to be made under seal is subject to Local Civil Rule 6.1 and applicable

law.

        9.     Any Party that files any discovery materials with the Court shall, with respect to

non-party individuals listed on any accident report, redact any personally identifying information

that may be contained therein, which includes an individual’s photograph, social security number,




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driver identification number, name, address (but not the 5-digit zip code), telephone number, and

medical or disability information.

        10.     Pursuant to Federal Rule of Evidence 502(b) and (d), an inadvertent failure to

designate qualified information or items as “CONFIDENTIAL” does not waive the Designating

Party’s right to secure protection under this Order for such material. If material is designated as

“CONFIDENTIAL” after the material was initially produced, the Receiving Party, on timely

notification of the designation by the Designating Party, must make reasonable efforts to assure

that the material is treated in accordance with the provisions of this Order.

        11.     Additionally, inadvertent disclosure of any document or materials subject to a

legitimate claim that the document is subject or otherwise protected from disclosure under the attorney-

client privilege, work product doctrine, or any other type of privilege shall not waive the protection or

privilege for either that document or for the subject matter of that document.

        12.     This Order shall apply from the time it is entered and remain binding after the

conclusion of this case unless otherwise ordered by the Court, and the Court shall retain jurisdiction

over all Parties and third parties bound hereby for the purposes of enforcing this Order. Each

individual signing the acknowledgement attached as Exhibit A agrees to be subject to the

jurisdiction of this Court for purposes of this Order.

        13.     This Order does not prevent any Party or third party from seeking to seal trial

transcripts and/or trial exhibits, including documents previously filed under seal, or from seeking

any other similar relief pursuant to Local Civil Rule 6.1.

        14.     Neither the entry of this Order, nor the designation of any material as

“CONFIDENTIAL,” nor the failure to make such designation, shall constitute evidence on any

issue in this case. The designation of any materials as “CONFIDENTIAL” does not waive that




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Party’s objection to any discovery on the ground that it seeks information protected by Federal

Rule of Civil Procedure 26(c) or other provision of law.

       15.     Nothing herein shall affect or restrict the rights of any Party with respect to its own

documents or to the information obtained or developed independently of materials afforded

confidential treatment pursuant to this Order.

       16.     Third parties that are the subject of discovery requests, subpoenas, or depositions

in this case may take advantage of the provisions of this Order by providing Plaintiff and Defendant

with written notice that they intend to comply with and be bound by the terms of this Order.

       17.     This Order may be modified at any time for good cause shown.

       SO ORDERED.

                                  Signed: January 8, 2021




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SEEN AND AGREED:

/s/ Andrew Brown                         /s/ Patrick H. Flanagan
Andrew Brown                             Patrick H. Flanagan
James Robert Faucher                     Stephanie H. Webster, Esq.
Brown, Faucher, Peraldo & Benson, PLLC   Cranfill Sumner & Hartzog, LLP
822 N. Elm St., Suite 200                P O Box 30787
Greensboro, NC 27401                     Charlotte, NC 28230
Telephone: (336) 478-6000                Email: phf@cshlaw.com
Email: drew@greensborolawcenter.com      swebster@cshlaw.com
james@greensborolawcenter.com

Frederick L. Berry                       Counsel for Defendant
John F. Bloss
Higgins Benjamin, PLLC
301 N. Elm Street, Suite 800
Greensboro, NC 27401
Telephone: (336) 274-4782
Email: fberry@greensborolaw.com

J. David Stradley
Robert Holmes
White & Stradley, PLLC
3105 Charles B. Root Wynd
Raleigh, NC 27612
Telephone: (919) 844-0400
Email: stradley@whiteandstradley.com
rob@whiteandstradley.com


Counsel for Plaintiff




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                         EXHIBIT A




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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA

 JOHNATHAN S. HENSLEY, on behalf of
 himself and others similarly situated,

                                       Plaintiff,

                         vs.                                   CASE NO. 3:20-cv-482

 CITY OF CHARLOTTE, a North Carolina
 municipal corporation,

                                     Defendant.


                           DECLARATION OF COMPLIANCE

         I, _____________________________________, declare as follows:

         1.    My address is ________________________________________________.

         2.    My present employer is ________________________________________.

         3.    My present occupation or job description is _________________________.

         4     I have received a copy of the Stipulated Protective Order entered in this action on

_______________, 20___.

         5.    I have carefully read and understand the provisions of this Stipulated Protective

Order.

         6.    I will comply with all provisions of this Stipulated Protective Order.

         7.    I will hold in confidence, and will not disclose to anyone not qualified under the

Stipulated Protective Order, any information, documents or other materials produced subject to

this Stipulated Protective Order.

         8.    I will use such information, documents or other materials produced subject to this

Stipulated Protective Order only for purposes of this present action.




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       9.      Upon termination of this action, upon written request, I will return and deliver all

information, documents or other materials produced subject to this Stipulated Protective Order,

and all documents or things which I have prepared relating to the information, documents or other

materials that are subject to the Stipulated Protective Order, to my counsel in this action, or to

counsel for the party by whom I am employed or retained or from whom I received the documents.

       10.     I hereby submit to the jurisdiction of this Court for the purposes of enforcing the

Stipulated Protective Order in this action.

       I declare under penalty of perjury under the laws of the United States that the following is

true and correct.


       Executed this ____ day of _____________, 20__.



                                                      _______________________________
                                                      QUALIFIED PERSON




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